     Case 2:12-cv-02092-PKH Document 4               Filed 05/30/12 Page 1 of 1 PageID #: 9



                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

KARI ANN LIPE SHORT                                                                      PLAINTIFF

v.                                      Case No. 2:12-CV-02092

UNITED STATES AUTOMOBILE
ASSOCIATION                                                                            DEFENDANT


                                              ORDER

        Before the Court is Plaintiff’s Notice of Dismissal (Doc. 3). Plaintiff states that there is no

longer a basis for diversity of citizenship jurisdiction pursuant to 28 U.S.C. § 1332. Furthermore,

Plaintiff states that Defendant has not served an answer or a motion for summary judgment, so this

case should be dismissed without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

        Therefore, upon due consideration, Plaintiff’s cause of action is hereby DISMISSED

WITHOUT PREJUDICE pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). The parties

are to bear their own fees and costs.

        IT IS SO ORDERED this 30th day of May, 2012.



                                                       /s/P. K. Holmes, III
                                                       P.K. HOLMES, III
                                                       CHIEF U.S. DISTRICT JUDGE
